                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

 DAVID L. MILLER, JR.,

                        Movant,
                                                       No. 14-3106-21-CR-S-MDH
                v.

 UNITED STATES OF AMERICA,

                        Respondent.


                 GOVERNMENT’S RESPONSE IN OPPOSTION TO
               MOVANT’S MOTION TO REDUCE SENTENCE (D.E. 1368)

       The plaintiff, the United States of America, provides the following suggestions in

opposition to defendant David L. Miller, Jr.’s (hereinafter, “Miller”) motion to modify or reduce

his sentence by awarding him 22 months of jail-time credit:

                                            I. Summary

       Miller, who is serving a 138-month sentence for conspiracy to distribute

methamphetamine, has filed a motion to reduce his sentence, seeking credit for the 22 months he

spent in federal custody following the issuance of a writ of habeas corpus that temporarily

transferred him from state to federal custody.

       This Court, however, has no jurisdiction to reduce or otherwise modify a sentence that has

been final for over three years. This Court also does not have the authority to grant jail-time credit

to Miller. Rather, that is the exclusive duty of the Federal Bureau of Prisons (BOP). If, after

exhausting his available administrative remedies as he claims, Miller remains unsatisfied with the

BOP’s award of jail-time credit, he can appeal that decision by filing a motion for a writ of habeas

corpus under 28 U.S.C. § 2241 in the federal district court where he is currently confined, in




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Alabama. Such efforts will likely be unsuccessful, because Miller is not entitled to federal credit

for the pre-sentence jail time he accumulated while he was in custody serving a state sentence. In

any event, Miller’s instant motion must be denied.

                                      II. Procedural History

         On August 3, 2015, United States Magistrate Judge David P. Rush issued a writ of habeas

corpus ad prosequendum directed to the Warden of Algoa Correctional Center, to bring Miller

before the United States District Court. Miller was confined at the Missouri Department of

Corrections, Jefferson City, Missouri, on a state conviction. (D.E. 333.)

         Miller, on March 3, 2016, pled guilty, through a written plea agreement, to Count 1 of the

Second Superseding Indictment charging him with conspiracy to distribute 500 grams or more of

a mixture or substance containing a detectable amount of methamphetamine, in violation of 21

U.S.C. §§ 846 and 841(a)(1) and (b)(1)(A). (D.E. 543, 544.) On March 17, 2017, the final

Presentence Investigation Report (PSR) was filed, indicating that Miller’s base offense level, after

acceptance of responsibility, for Count 1 was 37, with a criminal history category of VI. (PSR ¶

99). Miller’s presentence investigative report indicated that his sentencing range was 360 months

to life. (PSR ¶ 100). The statutory minimum sentence in his case for Count 1 was 20 years. (PSR

¶ 98).

         The government filed a motion for downward departure. (D.E. 992.) On June 30, 2017,

this Court sentenced Miller to 138 months’ imprisonment, to run concurrent with his state

sentence, followed by 10 years’ supervised release. (D.E. 1005.) Miller did not appeal. On

February 19, 2021, Miller filed the instant motion requesting he be granted 22 months’ credit for

the time he spent in federal custody following the issuance of a writ of habeas corpus that

temporarily transferred him from state to federal custody. The government’s response follows.



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                                 III. Argument and Authorities

       Miller has filed a motion asking this Court to reduce his sentence by 22 months, by

awarding him jail-time credit, which represents the time Miller calculates he was in federal custody

on a writ of habeas corpus ad prosequendum awaiting federal sentencing. (D.E. 1368.)

       This Court, however, has no authority to grant Miller the relief he seeks. To begin with,

Miller’s conviction became final on or about July 14, 2017, when Miller was sentenced to 138

months’ imprisonment and he did not appeal from that judgment. Thus, this Court is without

jurisdiction to grant Miller the relief he seeks because it is the BOP, not this Court, which decides

the question of pre-sentence jail-time credit. United States v. Wilson, 503 U.S. 329, 333-35 (1992)

(district court is not authorized, at sentencing, to compute credit for time served); United States v.

Ezell, 587 Fed.Appx. 995 (8th Cir. 2014) (same); United States v. Hill, 346 Fed.Appx. 134, 135

(8th Cir. 2009) (Attorney General, acting through the BOP, computes amount of jail-time credit to

be awarded after defendant begins serving his sentence).

       This Court, then, “lack[s] authority to award such credit” to Miller. Hill, id. Although

Miller argues that his federal sentence should have started to run as soon as he was taken into

federal custody, “[o]nly the BOP has the authority to determine when a federal sentence

commences.” United States v. Hayes, 535 F.3d 907, 910 (8th Cir. 2008). “Prisoners are entitled

to administrative review of the computation of their credits, 28 C.F.R. §§ 542.10-542.16, and after

properly exhausting these administrative remedies, an inmate may seek judicial review through

filing a habeas corpus petition under 28 U.S.C. § 2241. These are the proper avenues through

which [a movant] may resolve any dispute about the length of his time in state custody.” United

States v. Tindall, 455 F.3d 885, 888 (8th Cir. 2006) (internal citations omitted).




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        Miller’s remedy is to request the BOP to award him the credit he seeks. Id. And before

Miller can litigate this issue in any district court, he is required to have exhausted his administrative

remedies with the BOP. United States v. Callahan, 800 F.3d 422 (8th Cir. 2015); Mathena v.

United States, 577 F.3d 943, 946 (8th Cir. 2009); Hayes, 535 F.3d at 909-10. Once Miller’s

administrative remedies have been exhausted, Miller may challenge the BOP’s jail-time decision

by a writ of habeas corpus under 28 U.S.C. § 2241, in the district in which Miller is currently

confined, rather than the district of conviction. United States v. Chappel, 208 F.3d 1069 (8th Cir.

2000). Miller is currently incarcerated at FCI Talladega in Alabama and should file a motion under

28 U.S.C. § 2241 in the United States District Court for the Eastern District of Alabama. This

Court, however, lacks jurisdiction to entertain Miller’s claim.

                                           IV. Conclusion

        This Court has no jurisdiction to reduce or otherwise modify Miller’s sentence. Therefore,

Miller’s motion to modify or reduce his sentence must be denied without further proceedings.

                                                         Respectfully submitted,

                                                         TERESA A. MOORE
                                                         Acting United States Attorney

                                                By       /s/ Randall D. Eggert

                                                         RANDALL D. EGGERT
                                                         Assistant United States Attorney
                                                         901 St. Louis Street, Suite 500
                                                         Springfield, Missouri 65806
                                                         Telephone: (417) 831-4406

                                                          Attorneys for Plaintiff




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on March 5,
2021, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record, and mailed to:

                                    David L. Miller, Jr.
                                    Reg. No. 28082-045
                                    FCI Talladega
                                    Federal Correctional Institution
                                    P.M.B. 1000
                                    Talladega, AL 35160


                                           /s/ Randall D. Eggert
                                           Randall D. Eggert
                                           Assistant United States Attorney




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